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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                LAFAYETTE DIVISION


  In re INOTIV, INC. SECURITIES           Case No. 4:22-cv-00045-PPS-JEM
  LITIGATION
                                          Judge Philip P. Simon
                                          Magistrate Judge John E. Martin


   DEFENDANTS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION TO
    DISMISS LEAD PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT


 Michael J. Diver (pro hac vice)
 Michael J. Lohnes (pro hac vice)
 Carrie M. Stickel (pro hac vice)
 KATTEN MUCHIN ROSENMAN LLP
 525 West Monroe Street
 Chicago, Illinois 60661
 Telephone: (312) 902-5200
 Facsimile: (312) 902-1061
 michael.diver@katten.com
 michael.lohnes@katten.com
 carrie.stickel@katten.com
 Lead Counsel for Defendants

 Darren A. Craig, Atty. No. 25534-49
 FROST BROWN TODD LLC
 201 North Illinois Street
 Suite 1900
 Indianapolis, Indiana 46204
 Telephone: (317) 237-3800
 Facsimile: (317) 237-3900
 dcraig@fbtlaw.com
 Local Counsel for Defendants
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                                         INTRODUCTION

        Like the FAC, 1 Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion to

 Dismiss (“Opposition”) rests entirely on hindsight, speculation, unsupported conclusions, and

 mischaracterizations of the securities laws. Plaintiff’s claims hinge entirely on a non-existent duty

 to disclose unofficial USDA findings relating to a single, unprofitable facility and receipt of

 industry-wide document subpoenas. Further, the FAC lacks a single contemporaneous allegation

 of falsity. In particular, Plaintiff’s claim based on Defendants’ alleged failure to disclose the

 subpoenas is nothing but speculation and hindsight, relying exclusively on the fact that employees

 of a third-party overseas supplier were ultimately indicted. Defendants could not have possibly

 predicted that an indictment was coming. To make matters worse, many of the statements and

 alleged omissions at issue are non-actionable puffery or opinions, otherwise immaterial, or are

 protected by the safe harbor. Plaintiff’s Opposition fails to meaningfully address these and other

 dispositive arguments set forth in Defendants’ Memorandum.

        Further, the FAC fails to allege even a slight, let alone a cogent and compelling, inference

 of scienter. Not only are there no damning internal reports, stock sales, first-hand accounts of

 fraudulent intent, or other typical indicia of scienter, but Defendants made timely disclosures,

 purchased stock, and had no motivation to conceal the allegedly omitted information. That lack

 of motivation is buttressed by the market’s neutral or positive reaction to various disclosures. For

 example, Inotiv’s stock price quickly rebounded following many of the temporary price drops and

 actually increased when one of the subpoenas at issue was disclosed. For these and other reasons,

 Plaintiff has also failed to allege loss causation. Finally, Plaintiff’s overlapping § 14(a) and 20(a)

 claims must be dismissed for similar reasons.


 1
  Capitalized terms not defined herein have the same meanings set forth in Defendants’ Memorandum in
 Support of Motion to Dismiss Lead Plaintiff’s FAC (“Memorandum”).


                                                   1
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                                               ARGUMENT

         The FAC fails to satisfy Rule 9(b), let alone the heightened-pleading requirements of the

 PSLRA. Specifically, Plaintiff has utterly failed to plead an actionable false or misleading

 statement, materiality, scienter, or loss causation. Plaintiff also fails to allege a materially false or

 misleading proxy statement or loss causation in support of its § 14(a) claim. As a result, Plaintiff’s

 § 20(a) claims fail as well. Defendants’ motion to dismiss should be granted with prejudice.

 I.      PLAINTIFF CANNOT ESTABLISH A DUTY TO DISCLOSE ANY ALLEGEDLY OMITTED
         INFORMATION. MOREOVER, SUCH INFORMATION WAS, IN FACT, DISCLOSED.

         Plaintiff fails to identify an applicable duty to disclose the USDA inspections or the receipt

 of subpoenas relating to an investigation into a third party (both of which were actually disclosed).

 Mem. at 11-12. Plaintiff does not seriously contest, and therefore concedes, that the federal

 securities laws do not obligate an issuer to disclose government investigations or contested,

 uncharged, or unadjudicated claims of wrongdoing, let alone the mere receipt of a subpoena. Mem.

 at 12. 2 Rather, Plaintiff argues that Defendants were required to disclose the alleged omissions

 because they rendered affirmative statements false or misleading and because such disclosure was

 required under Regulation S-K. Opp. at 15-17. Plaintiff fails on both fronts, as discussed below.

 See infra Sections I.A, II.A. Moreover, Inotiv timely disclosed the USDA investigation, grand jury

 subpoenas, and the indictment in the USAO-SDF investigation. Mem. at 12-14.




 2
   Plaintiff’s attempt to distinguish this relevant authority is unsuccessful. Opp. at 16 n.18 (citing Heavy &
 Gen. Laborers’ Loc. 472 & 172 Pension and Annuity Funds v. Fifth Third Bancorp, 2022 WL 1642221
 (N.D. Ill. May 24, 2022) (Plaintiff fails to explain why receipt of subpoenas “several months earlier” sets
 this case apart); In re Lions Gate Ent. Corp. Sec. Litig., 165 F. Supp. 3d 1 (S.D.N.Y. 2016) (no duty to
 disclose where defendants were not subject to a pre-existing duty of disclosure, did not make express
 disclosures related to the investigation that were rendered materially misleading by omitting information
 about the investigation, and the investigation itself was not material)); see also Lewis v. YRC Worldwide
 Inc, 2020 WL 1493915 at *10 (N.D.N.Y. Mar. 27, 2020) (participation in nine-year DOJ investigation,
 including providing “hundreds of thousands of pages of documents” and engaging in settlement
 discussions, did not create a general disclosure duty).


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           A.      Regulation S-K Does Not Support Plaintiff’s Claims.

           Plaintiff incorrectly asserts that Regulation S-K imposed a separate duty to disclose. Opp.

 at 16-17. However, Plaintiff wholly fails to explain how the allegedly undisclosed information,

 which was actually disclosed, falls within Regulation S-K (it does not). See Opp. at 17. A violation

 of Item 303 requires proof of “actual knowledge” and issuers are only required to disclose known

 and material proceedings and risks under Items 103 and 105. Mem. at 11 n.7. None of the

 information at issue satisfies these standards. 3 Id. Plaintiff fails to address, let alone rebut, these

 dispositive points. See, e.g., Cincinnati Ins. Co. v. E. Atl. Ins. Co., 260 F.3d 742, 747 (7th Cir.

 2001) (failing to address an argument that is not frivolous “operates as a waiver”); Mart v. Forest

 River, Inc., 854 F. Supp. 2d 577, 592 (N.D. Ind. 2012). Finally, the Seventh Circuit has never held

 that Regulation S-K imposes a duty to disclose that can give rise to fraud under the Exchange Act.

 Other Circuits have rightly rejected such an argument. Mem. at 11 n.7. Accordingly, Regulation

 S-K does not save Plaintiff’s claims from dismissal.

           B.      Inotiv Timely Disclosed All Relevant Risks and Alleged Omissions.

           Prior to and throughout the class period, Inotiv’s robust risk disclosures cautioned investors

 about various risks associated with potential (1) non-compliance with governmental regulations

 and (2) disruption in the supply of NHPs. Mem. at 12-13. Plaintiff quibbles with these disclosures,

 contending that they did not include “specific risks” associated with the (1) USDA inspections and

 (2) subpoenas and USAO-SDF investigation. Opp. at 18. Both arguments fail. Inotiv did disclose

 the exact risks of non-compliance, including potential harm to its “reputation and operating

 results” and that the USDA could “impose fines, suspend and/or revoke animal research licenses

 or confiscate research animals.” Mem. at 8, 13; Ex. L at 2; see also Opp. at 18 n.22 (acknowledging



 3
     Indeed, the USDA investigation and DOJ proceeding were closed with no fines or penalties. Mem. at 7.


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 disclosure of USDA investigation). 4 Further, Plaintiff admits that violations at the Cumberland

 Facility were publicized and had “entered the market” by November 15, 2021, a year before the

 end of the class period. Opp. at 18 n.22; Mem. at 13. 5 It is axiomatic that “[t]he securities laws do

 not require firms to ‘disclose’ information that is already in the public domain.” Higginbotham v.

 Baxter Int’l, Inc., 495 F.3d 753, 759 (7th Cir. 2007).

         Inotiv also disclosed risks associated with the limited supply of NHPs, which are the exact

 risks Plaintiff alleges materialized as a result of the USAO-SDF investigation. Mem. at 12-13, 28;

 Opp. at 14 (referring to NHP supply as a risk). For example, as Plaintiff points out, Leasure stated

 on November 16, 2021, that “access to research models . . . is becoming more and more of a

 problem.” Opp. at 14; see also ¶ 232. The USAO-SDF investigation was also a matter of public

 record as early as June 22, 2021, prior to the class period. ¶¶ 113-14; Mem. at 13. Moreover, the

 FAC does not allege a single contemporaneous fact indicating that Defendants had any reason to

 know that the investigation was focused on its supplier prior to the unsealing of the indictment, 6

 which Inotiv then promptly disclosed. Mem. at 14. In conclusion, Plaintiff fails to identify an

 applicable duty to disclose the allegedly omitted information. Even if such a duty existed, the




 4
   Plaintiff’s authority is readily distinguishable. Opp. at 18 n.22 (citing In re BHP Billiton Ltd. Securities
 Litig., 276 F. Supp. 3d 65, 83 (S.D.N.Y. 2017) (general disclosures did not alert investors to specific, known
 risks); Menaldi v. Och-Ziff Capital Mgt. Group LLC, 164 F. Supp. 3d 568, 584 (S.D.N.Y. 2016) (disclosures
 misled investors into believing company was not facing a government investigation)).
 5
   Purported conditions at the Cumberland Facility were also the subject of activist scrutiny and public
 reporting as early as July 2019. Mem. at 18 n.8. While Plaintiff claims that Inotiv issued a statement on
 November 16, 2021 “effectively denying the USDA’s findings” (Opp. at 18 n.22), the FAC alleges that this
 statement directly acknowledged the USDA’s findings. Mem. at 20; ¶ 197 (stating that Envigo was
 “continuing to take the necessary corrective actions for all issues outlined in the reports”). Further,
 “effectively denying” the USDA’s publicly available findings would have been impossible and nonsensical.
 6
  The fact that the indictment was sealed demonstrates that the charges were confidential and further
 undermines any argument that Inotiv did or should have known what was going to happen.


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 relevant information was disclosed. As such, the alleged omissions cannot support a claim for

 securities fraud.

 II.     THE FAC FAILS TO ALLEGE FACTS DEMONSTRATING THAT ANY STATEMENTS
         OMITTED MATERIAL INFORMATION OR WERE MATERIALLY FALSE OR MISLEADING.

         As an initial matter, contrary to Plaintiff’s unfounded assertion (Opp. at 7, 13-14, 19 n.23),

 Defendants expressly challenged each of the potential misrepresentations and omissions in the

 FAC, including statements in the Cumberland and Primate Fact Sheets. 7 Mem. at 12-13 (no duty

 to disclose any alleged omissions), 26-27 (any omitted information about Cumberland Facility was

 financially immaterial), 22 (Primate Fact Sheets not rendered false by alleged omissions), 24-25,

 24 n. 25 (quality-related statements constitute puffery). Plaintiff’s assertion that Defendants’ entire

 Motion must be denied so long as Plaintiff has alleged a single actionable statement somewhere in

 the 135-page FAC is similarly unfounded. Opp. at 7, 14. 8 As Plaintiff’s own case law

 demonstrates, courts routinely dismiss certain statements and theories of fraud, while finding that

 others can withstand a motion to dismiss. 9


 7
   The FAC fails to allege with particularly which statements, if any, Plaintiff contends were facially false
 or misleading. Mem. at 22. Plaintiff’s Opposition fails to provide any clarity—indiscriminately referring to
 false or misleading statements “and/or” omissions throughout. See Opp. at 6-22. Not only does this fail to
 comply with the applicable pleading standard, but Plaintiff also fails to rebut, and therefore concedes,
 Defendants’ argument that none of the three potential misrepresentations were false or misleading when
 made. Mem. § IV. Accordingly, only alleged omissions remain at issue.
 8
   In Pierrelouis v. Gogo, which Plaintiff relies on, the court questioned whether it could dismiss certain
 statements if others were sufficiently pled, but determined that the answer made “no difference” because
 all of the statements were actionable. No. 18 C 4473, 2021 WL 1608342, at *10–11 (N.D. Ill. Apr. 26,
 2021). BBL, Inc. v. City of Angola, 809 F.3d 317 (7th Cir. 2015), which Pierrelouis relies on, was not a
 securities fraud case and the defendant’s motion only moved on parts of a single claim. Id. at 325.
 9
   See Plumbers and Pipefitters Loc. Union No. 630 Pension-Annuity Tr. Fund v. Allscripts-Misys
 Healthcare Sols., Inc., 778 F. Supp. 2d 858, 873-77, 887 (N.D. Ill. 2011) (dismissing certain statements
 while finding that others were sufficient to withstand a motion to dismiss); Pub. Pension Fund Grp. v. KV
 Pharm. Co., 679 F.3d 972, 983-85 (8th Cir. 2012) (same); City of Sterling Heights Gen. Employees’ Ret.
 System v. Hospira, Inc., 11 C 8332, 2013 WL 566805, at *17-25 (N.D. Ill. Feb. 13, 2013) (same). To the
 extent the Court finds that any theory of liability is adequately pled, which Defendants strongly dispute, but
 dismisses others, the class period should be modified to match any remaining statements and corrective
 disclosures at issue.


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        A.          The Alleged Omissions Did Not Render Any Statements False or Misleading.

        Despite its length, the FAC fails to identify a single actionable misstatement or omission.

 Plaintiff asserts that the misrepresentations and omissions at issue fall into two categories: (1)

 “ongoing AWA violations at the Cumberland Facility”; and (2) “the fact that the Company’s

 principal supplier of NHPs was enmeshed in a Criminal Investigation implicating the NHP supply

 chain and that Envigo and OBRC had received grand jury subpoenas in that proceeding.” Opp. at

 6-7. Both categories fail to support a claim.

               i.         Defendants Did Not Omit Material Information About AWA
                          Violations.

        Rather than addressing Defendants’ arguments or explaining how any of the challenged

 statements were false or misleading, whether by omission or on their face, Plaintiff’s Opposition

 merely restates the same unfounded claims in the FAC. For example, Plaintiff fails to counter

 Defendants’ argument that purportedly omitted information about the Cumberland Facility—a

 small, immaterial portion of the Company’s business—did not render statements about Envigo, as

 a whole, false or misleading. Mem. at 16-17 (compiling cases). 10 Similarly, Plaintiff asserts that

 statements about the Cumberland Facility, remedial actions, and commitment to animal welfare

 failed to disclose the USDA’s repeat findings, but does not deny that Inotiv never represented or

 implied that all issues identified by the USDA had been cured. Opp. at 10-12. Oppositely,

 Defendants acknowledged outstanding issues and, regardless, the AWA violations were publicly

 available on the USDA’s website. Mem. at 20-21, 23-24; Opp. at 10. Accordingly, no reasonable

 investor would have believed the Company was downplaying or denying anything. See Chu v.

 Sabratek Corp., 100 F. Supp. 2d 827, 834 (N.D. Ill. 2000) (“A plaintiff cannot credibly claim to


 10
   Plaintiff similarly challenges the representation that Envigo “supplies customers with genetically
 consistent research models time after time” (Opp. at 9 n.5), but fails to allege that customers received
 anything but genetically consistent research models. Mem. at 17 n.11.


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 be misled by a company’s attempt to hide negative information when that same information is

 publicly available via alternate channels.”). 11

         The statements in the Merger Agreement regarding compliance also fail. Plaintiff does not

 dispute that any immaterial violations were explicitly carved out of the relevant representation and

 that the Cumberland Facility was financially immaterial. Mem. at 18; see Opp. at 9 n.6.12

 Furthermore, with respect to the statement that “the results of Inotiv’s due diligence review of

 Envigo” were taken into account, Plaintiff admits that the FAC does not allege that Inotiv

 disregarded or ignored any aspect of due diligence. Opp. at 10, n. 9. Accordingly, Plaintiff fails to

 allege that the challenged statements were false or misleading or rendered as such by purported

 omissions. See In re Guidant Corp. Sec. Litig., 536 F. Supp. 2d 913, 926 (S.D. Ind. 2008), aff’d

 sub nom. Fannon v. Guidant Corp., 583 F.3d 995 (7th Cir. 2009).

         Further, like in the FAC, Plaintiff only points to later-issued USDA inspection reports, May

 2022 actions by the DOJ, and a November 2022 indictment to impermissibly argue, in hindsight,

 that earlier challenged statements were false or misleading. 13 See, e.g., Opp. at 9 n.7, 10-12



 11
   Plaintiff’s assertion that Defendants had a general duty to disclose because a reasonable investor would
 have understood Defendants’ representations to mean that the acquisitions “were reducing and not
 increasing risks” (Opp. at 16) wholly fails to satisfy the “[e]xacting pleading requirements” under Tellabs
 and is contradicted by the facts. Inotiv specifically cautioned investors prior to the acquisitions and
 throughout the class period that both Inotiv and Envigo faced potentially significant regulatory, supply, and
 acquisition risks. Mem. at 8-9, 12-13; see also Opp. at 14-15, 18. Plaintiff’s assertion that Leasure
 represented that the Envigo acquisition eliminated risk (Opp. at 14 n.15) fails for the same reason. See
 Mem. at 12-13.
 12
   Plaintiff’s attempt to distinguish Forman v. Meridian Bioscience, Inc. falls flat (Opp. at 9 n.6), as the
 facts there are nearly identical. 367 F. Supp. 3d 674, 690 (S.D. Ohio 2019), on reconsideration, 387 F.
 Supp. 3d 791 (S.D. Ohio 2019) (company did not make, and thus was not liable for, representations made
 by opposing party in an arms-length business transaction before merger even though it attached a copy of
 the merger agreement to a Form 10-Q). Even if Defendants could be liable for statements they did not make
 under Lorenzo (see Opp. at 9 n.6), Plaintiff still fails to allege falsity, as discussed above.
 13
   The CWs and the HSUS report further fail to allege contemporaneous evidence of falsity. Mem. at 14.
 The mere assertion that the source in the HSUS report worked at the Cumberland Facility during a broad
 time period fails to allege when the specific observations were purportedly made. Opp. at 8 n.4; Mem. at


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 (arguing that “USDA inspectors later found the same or substantially identical AWA violations”).

 Indeed, Plaintiff continues to ignore the discrepancy between the dates on which the USDA

 inspections took place and the much later dates on which the findings were finalized and issued.

 Id.; Mem. at 19-20, 14; Ex. Y at 5. This is impermissible fraud by hindsight. Mem. at 19-20, 14;

 Ex. Y at 5. 14 See Schleicher v. Wendt, 618 F.3d 679, 684 (7th Cir. 2010).

               ii.        Defendants’ Did Not Omit Material Information About the USAO-SDF
                          Investigation or Subpoenas.

         Moreover, Plaintiff fails to address or rebut Defendants’ argument that statements about

 the quality, supply, and availability of NHPs, which did not address or relate to the subpoenas or

 USAO-SDF investigation, were not rendered false or misleading as a result of any alleged

 omissions. Mem. at 22. Further, as discussed above, NHP supply constraints were disclosed and

 well-documented throughout the class period, further condemning Plaintiff’s claims. 15 Supra

 Section I.B. Additionally, Plaintiff incorrectly claims that the representations in the Envigo Merger

 Agreement regarding compliance were false and misleading because those representations omitted



 15. Additionally, as with the CWs, Plaintiff wholly fails to allege anything about the employee referenced
 in the HSUS report, let alone describe the source with requisite detail. Mem. at 14.
 14
    With regard to the November 2021 inspection report, Plaintiff impermissibly relies on new facts that are
 not in the FAC. Opp. at 11 n.10. In any event, the assertion that the USDA prepared an initial, longer report
 of the November 2021 inspection that was never issued only underscores Defendants’ point that such
 reports are subject to change until issued. Similarly, although the first inspections occurred in July 2021
 (Opp. at 9 n.7), the related reports were not issued until October 18, 2021. Mem. at 5. Plaintiff’s authority
 is also inapposite. See Opp. at 9 n.7 (citing Marwil v. Ent & Imler CPA Grp., PC, 2004 WL 2750255, at *5
 (S.D. Ind. Nov. 24, 2004) (allegations that defendant had access to relevant financial records when the
 alleged misrepresentations were made)); Opp. at 12, n.11 (citing Pub. Pension Fund Grp., 679 F.3d at 984
 (FDA issued final reports to defendant with findings of non-compliance that were contemporaneous with
 defendant’s statements regarding compliance with FDA regulations)).
 15
    Plaintiff acknowledges that the Company said there was a “limited international source of supply.” Opp.
 at 13, 14 (explicitly noting supply risks). Moreover, Plaintiff’s characterization of Leasure’s May 13, 2022
 statement as “assur[ing] investors that the purchase of OBRC had protected Inotiv from industry-wide NHP
 supply constraints” is baseless. Opp. at 15. Leasure stated that the OBRC acquisition “provides an
 opportunity to further expand our services and address client needs at a time when the industry demand is
 outstripping supply.” ¶ 224. Finally, Plaintiff fails to explain how the receipt of two subpoenas render such
 statements false or misleading.


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  the subpoenas to Envigo and OBRC and the fact that the principal supplier was the focus of the

  USAO-SDF investigation. Opp. at 14. As an initial matter, the Merger Agreement predated

  Inotiv’s acquisition of OBRC by four months and Plaintiff cannot explain why a subpoena to

  OBRC would ever be disclosed as part of a Merger Agreement with Envigo. Nonetheless, receipt

  of a subpoena does not render a statement regarding compliance with the law false or misleading.

  Mem. at 21-22; Société Générale Sec. Services, GbmH v. Caterpiller, Inc., 2018 WL 4616356, at

  *6 (N.D. Ill. Sept. 26, 2018) (“If every investigation or executed search warrant was evidence of

  wrongdoing then what purpose do hearings and trials have?”). Finally, Plaintiff has not alleged

  contemporaneous facts suggesting that Defendants had knowledge of the scope or target of the

  USAO-SDF investigation. Mem. at 21-22. Plaintiff relies exclusively on the “ultimate

  indictment.” Opp. at 12 n. 12, 13. Plaintiff’s claim fails for this additional reason.

         B.      The Challenged Statements and Omissions Are Immaterial.

         In its Opposition, Plaintiff seeks to sidestep controlling and persuasive case law cited by

  Defendants establishing that the alleged misrepresentations and omissions fail for the additional

  reason that they are non-actionable puffery or opinions, otherwise immaterial as a matter of law,

  and/or protected by the PSLRA safe harbor.

                i.       The Qualitative Statements Are Nonactionable Puffery or Opinions.

         As an initial matter and contrary to Plaintiff’s warning to “proceed cautiously” (Opp. at

  19), materiality can be determined as a matter of law on a motion to dismiss. In re Midway Games,

  Inc. Securities Litig., 332 F. Supp. 2d 1152, 1164 (N.D. Ill. 2004) (“court may properly address

  the issue [of materiality] on a motion to dismiss”). Tellingly, Plaintiff does not address a single

  one of the specific puffery statements set forth in Defendants’ Memorandum. Mem. at 24 n.25, 25.

  Rather, Plaintiff generally argues, without explanation, that many of the challenged statements

  were material because they were made in the context of the Envigo acquisition. Opp. at 20.


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  However, the context of an acquisition does not alter the meaning of puffery. 16 Further, many of

  the puffery statements, including various statements regarding NHPs, were not made in the context

  of the Envigo acquisition. See Mem. at 24-25; ¶¶ 186-189, 193, 197, 207, 210. Plaintiff does not

  challenge and, therefore, concedes that such statements are puffery. 17

          Similarly, Plaintiff challenges the characterization of various statements as opinions, but

  offers no explanation in support of this conclusion. Opp. at 20. 18 Unable to refute Defendants’

  arguments and supporting case law, Plaintiff alternatively argues that the opinion statements are

  nonetheless actionable because each of the statements contains “untrue supporting facts and/or

  omits material facts about the Company’s AWA noncompliance.” Opp. at 21. Plaintiff’s only

  specific challenge is to Leasure’s September 21, 2021 remark that “we see Envigo as a best-in-

  class provider of high-quality research models and services.” Unlike in Fryman, which Plaintiff



  16
    See W. Palm Beach Firefighters' Pension Fund v. Conagra Brands, Inc., 495 F. Supp. 3d 622, 651–52
  (N.D. Ill. 2020), aff’d sub nom. Natl. Elevator Indus. Pension Fund v. Conagra Brands, Inc., 21-1155, 2022
  WL 1449184 (7th Cir. May 9, 2022) (claim that merger presented “a tremendous opportunity to drive
  profitable growth” was immaterial puffery); In re Marriott Intl., Inc., Customer Data Sec. Breach Litig.,
  543 F. Supp. 3d 96, 118 (D. Md. 2021), aff’d sub nom. In re Marriott Intl., Inc., 31 F.4th 898 (4th Cir.
  2022) (statements that merger presented “tremendous opportunity” were puffery).
  17
    Plaintiff’s attempt to distinguish Ong v. Chipotle is baffling. Opp. at 20 n.24. The statements there about
  defendant’s commitment to safe, high quality food and food safety programs are directly analogous. Mem.
  at 25. Similarly, like In re Stratasys Ltd. S’holder Sec. Litig., statements such as “the world’s largest and
  most trusted sources of NHPs,” are not verifiable. Mem. at 25. Plaintiff’s authority offers no support. Opp.
  at 20 (citing Sterling Heights, 2013 WL 566805, at *24-25 (statement that the company was working to
  meet the “highest level of compliance and quality” was actionable because it was made in the context of
  the defendants’ track record, but statements such as “redoubling commitment to quality,” “raising the bar
  internally,” and “serving to transform the company” constituted inactionable puffery); Novak v. Kasaks,
  216 F.3d 300, 315 (2d Cir. 2000) (statements that inventory was “in good shape” and “under control” did
  not constitute puffery because defendants knew the statements were false)).
  18
     Plaintiff’s primary rebuttal is that the Seventh Circuit has yet to clarify whether Omnicare applies to §
  10(b) claims. Opp. at 20. Various court in this Circuit and around the country have applied Omnicare to §
  10(b) claims. See, e.g., Fryman v. Atlas Fin. Holdings, Inc., 18-CV-01640, 2022 WL 1136577, at *10 (N.D.
  Ill. Apr. 18, 2022) (cited in Opp. at 21); Conagra Brands, 495 F. Supp. 3d at 648; Carvelli v. Ocwen Fin.
  Corp., 934 F.3d 1307, 1322 n.7 (11th Cir. 2019); City of Dearborn Heights Act 345 Police & Fire Ret. Sys.
  v. Align Tech., Inc., 856 F.3d 605, 610 (9th Cir. 2017); Tongue v. Sanofi, 816 F.3d 199, 209–10 (2d Cir.
  2016).


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  relies on, Plaintiff fails to allege that Leasure did not subjectively hold the belief stated in his

  September 21 remark. Opp. at 21; 2022 WL 1136577, at *14. Nor has Plaintiff identified any

  supporting facts in Leasure’s opinion statement, let alone any untrue ones, or identified omitted

  facts within the Company’s knowledge that would “conflict with what a reasonable investor would

  take from the statement itself.” Opp. at 20; see id. at *15, 17.19 Additionally, Plaintiff fails to

  address, and therefore concedes, that the remaining opinion statements are not actionable. Mem.

  at 25-26; Opp. at 21. Accordingly, all of the opinion statements must be dismissed.

                ii.       Information About the Cumberland Facility and USAO-SDF
                          Subpoenas Did Not Alter the Total Mix of Information.

          Plaintiff completely fails to address facts and case law cited by Defendants establishing

  that the Cumberland Facility was not material as a matter of law. Mem. at 26. Instead, Plaintiff

  incorrectly contends that this is an inappropriate “factual dispute.” Opp. at 22. But, as Plaintiff’s

  own authority confirms, it is Plaintiff’s burden to plead materiality. See Pierrelouis, 2021 WL

  1608342, at *3; No. 84 Employer-Teamster Jt. Council Pen. Tr. Fund v. Am. W. Holding Corp.,

  320 F.3d 920, 934 (9th Cir. 2003). Importantly, Plaintiff does not dispute that the Cumberland

  Facility comprised less than 1% of Inotiv’s total revenue, was not profitable, and was just one of

  22 Envigo facilities. 20 Mem. at 26; Opp. at 22. Moreover, Plaintiff conveniently ignores analyst



  19
    Plaintiff’s cited authority cuts against its conclusory argument. Fryman states that in applying Omnicare,
  the court asks whether the plaintiff has alleged “that the facts supporting Defendants’ opinion . . . were
  untrue.” 2022 WL 1136577, at *17. Plaintiff asserts that the statement “contains an untrue supporting fact
  regarding the research quality of the Cumberland beagles” (Opp. at 21), but Leasure’s statement was not
  even about the Cumberland Facility. ¶ 162; see Omnicare, Inc. v. Laborers Dist. Council Const. Indus.
  Pension Fund, 575 U.S. 175, 189–90 (2015) (opinion statement is not necessarily misleading “when an
  issuer knows, but fails to disclose, some fact cutting the other way” as “[r]easonable investors understand
  that opinions sometimes rest on a weighing of competing facts”).
  20
    Plaintiff’s Opposition repeats the same contention that the Cumberland Facility was somehow material
  because it was part of a large business segment that, on the whole, accounted for a portion of revenue,
  ignoring Defendants’ arguments pointing out that such allegations are insufficient. Opp. at 7; Mem. at 26-
  27 n.28; Acito v. IMCERA Grp., Inc., 47 F.3d 47, 52-53 (2d Cir. 1995).


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  commentary confirming that the market did not view the Cumberland Facility as material. Mem.

  at 27; ¶ 263 (commenting that the decision to close the facility “should be well-received by

  investors”). Indeed, following the Company’s announcement that the facility would be closed,

  Inotiv’s stock dropped a mere 25 cents—less than 2%—and then fully rebounded the following

  day. Ex. X at 8; see also Opp. at 22 n.26 (arguing that market’s reaction can indicate materiality).

  Furthermore, the Company’s engagement with Virginia government officials and all hands

  response (Opp. at 22) merely confirms that the Company took the issues at the Cumberland Facility

  seriously and does not somehow change the materiality analysis. In re Supreme Indus., Inc. Sec.

  Litig., 2019 WL 1436022, at *3 (N.D. Ind. Mar. 29, 2019) (materiality is analyzed from the

  perspective of a reasonable investor).

          Further, Inotiv’s stock price rose following its May 16, 2022 disclosure of the subpoena to

  OBRC. Mem. at 37. Not only does this demonstrate that the market did not view the subpoena as

  material, but it also means that Plaintiff cannot allege losses as a result of the alleged omission of

  the OBRC subpoena. Mem. at 22, 37; see Opp. at 22 n.26. Plaintiff does not and cannot argue

  otherwise.

               iii.       The PSLRA Safe Harbor Applies to Defendants’ Forward-Looking
                          Statements.

          Finally, as explained in the Memorandum, Defendants’ forward-looking statements

  regarding future potential benefits of the Envigo and OBRC acquisitions and intent to eventually

  rebrand are shielded by the PSLRA’s safe harbor. 15 U.S.C. § 78u-5(c)(1). 21 Plaintiff does not



  21
     Plaintiff claims that Defendants did not specify which portions of statements are forward looking (Opp.
  at 23), but the Memorandum clearly identifies these statements. Mem. at 28 n.29. Plaintiff also oppositely
  criticizes Defendants elsewhere in the Opposition for “cherry-picking” statements or portions of them. See
  Opp. at 21. The FAC is nearly 150 pages of shotgun pleading and quotes pages of statements, often without
  specifying which portions of statements were misleading or why. As such, Defendants had no choice but
  to identify the portions of the statements Plaintiff appears to challenge.


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  contest that the statements were forward looking and identified as such, and utterly fails to argue

  that Defendants had “actual knowledge” of falsity. Opp. at 23 n.27; Mem. at 28. While Plaintiff

  refers to Inotiv’s risk disclosures as “boilerplate” (Opp. at 18), as discussed above, Inotiv made

  meaningful cautionary disclosures regarding acquisitions, integration, and supply risks. Mem. at

  28; see In re Midway Games, 332 F. Supp. 2d at 1167. 22 Moreover, to qualify for the safe harbor,

  the language need not explicitly refer to the risk that ultimately came to fruition, “it is sufficient

  that the language warned of risks of a significance similar to that actually realized.” Stavros v.

  Exelon Corp., 266 F. Supp. 2d 833, 843 (N.D. Ill. 2003). In sum, Plaintiff cannot state a claim

  based on any of the alleged misrepresentations or omissions because they are nonactionable,

  immaterial statements.

  III.    PLAINTIFF FAILS TO RAISE A COGENT OR COMPELLING INFERENCE OF SCIENTER.

          Incapable of alleging a cogent or compelling inference of scienter, Plaintiff cites purported

  scienter allegations that add nothing and incorrectly claims that Defendants failed to address

  various allegations. 23 Not a single one of Plaintiff’s purported bases for scienter is recognized by

  the law or supported by particularized, contemporaneous facts. Rather, Plaintiff’s scienter

  allegations add up to nothing more than unsupported assumptions about what Defendants “must

  have” or “would have” known. Further, various facts that Plaintiff cannot explain away directly



  22
    Unlike in Pierrelouis (Opp. at 23), Inotiv’s risk disclosures suggested caution, not confidence, when it
  came to compliance with governmental regulations and warned of current supply risks. Mem. at 12-14.
  23
    Plaintiff falsely asserts that Defendants do not contest scienter on eight bases. Opp. at 24-25. Defendants
  explicitly explained why arguments 1–5 and 8 are insufficient. Mem. at 30-32. Points 6 and 7 were not
  pleaded as scienter allegations in the FAC and, regardless, are not even close to sufficient. If “speaking on
  behalf of the Company” supported an inference of scienter, every executive on Wall Street would
  potentially have scienter. Opp. at 25 n.28. Nor did the court in City of Sterling Heights Police & Fire Ret.
  Sys. v. Reckitt Benckiser Grp. PLC hold as much. 587 F. Supp. 3d 56, 97-98 (S.D.N.Y. 2022) (scienter was
  supported by unrelated allegations including a related criminal conviction). Hedick v. Kraft Heinz Co.
  similarly based its finding of scienter on much more than participating in conference calls. 19-CV-1339,
  2021 WL 3566602, at *11-14 (N.D. Ill. Aug. 11, 2021).


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  undercut any inference of scienter. The FAC’s § 10(b) and 20(a) claims can and should be

  dismissed on this basis alone.

          A.      The Due Diligence Tour, Public Congressional Testimony, Public Lobbying
                  Efforts, and Receipt of Subpoenas Are Not Sufficient to Allege Scienter.

          As explained in Defendants’ Memorandum, the mere fact that Leasure and Sagartz

  participated in a due diligence tour does not support the conclusion that either knew about

  purported conditions at the Cumberland Facility, the subpoenas, or the scope of the USAO-SDF

  investigation. Mem. at 30-32; Opp. at 25-26, 33-34. Rather than particularized facts, Plaintiff

  merely recites the same unsupported conclusions that conditions at the Cumberland Facility

  “would have been impossible to miss” and that “Defendants learned or would have learned of”

  information through the due diligence process. Opp. at 26, 30; Mem. at 26. 24 But, “Plaintiff must

  allege actual knowledge by the [D]efendants, not some second-hand belief that such knowledge

  existed.” Mem. at 30-32. 25 Indeed, Plaintiff fails to distinguish the plethora of cited cases holding

  that “must have known” allegations are insufficient. Mem. at 30-31; see also Fifth Third Bancorp,

  2022 WL 1642221 at *22 (knowledge of investigation into alleged illegal practices does not equate

  to knowledge of those practices themselves).

          Further, there are myriad issues with the CW allegations underlying these unsupported

  conclusions. None of the CWs are alleged to have had relevant interactions with the Individual



  24
    The single case Plaintiff cites in support of these baseless conclusions, Miller v. Material Scis. Corp., is
  wholly inapplicable here. Opp. at 26. There, the plaintiff alleged that written presentations showed that the
  defendant reviewed materials demonstrating oddities in the company’s books and records that constituted
  evidence of fraud. Miller v. Material Scis. Corp., 9 F. Supp. 2d 925, 927–28 (N.D. Ill. 1998). Plaintiff’s
  “would have” allegations here do not come close.
  25
    Plaintiff erroneously attempts to distinguish Plumbers & Pipefitters Loc. Union v. Zimmer, which held
  that actual knowledge, as opposed to a second-hand belief that such knowledge exists, is required to
  adequately allege scienter, by asserting that it addressed forward-looking statements (Opp. at 28 n.29), but
  the cited portion of Zimmer makes no mention of forward-looking statements. 673 F. Supp. 2d 718, 747
  (S.D. Ind. 2008).


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  Defendants and their anecdotal allegations about the Cumberland Facility, USAO-SDF

  investigation, and Tucker matter do not coincide with the statements at issue. Mem. at 30-31.

  Plaintiff further asks the Court to assume that the tours of the Cumberland Facility and Texas

  primate facility were similar to a tour of an Envigo facility in St. Louis, Missouri. Opp. at 30. Even

  if such assumptions were permissible under the PSLRA (they are not), CW2 does not allege that

  legal or regulatory matters were discussed during the St. Louis tour. ¶ 130. Plaintiff also still fails

  to explain how visiting a facility would necessarily alert a Defendant to the fact that the company

  had received a subpoena. Even crediting CW1’s vague allegation that the USAO-SDF

  investigation and the Tucker matter were “general knowledge,” Plaintiff still fails to allege that

  any such information was provided to Defendants. Mem. at 30; Opp. at 27 (referencing “extensive

  business information”). It further defies common sense to assume that Defendants understood the

  focus of the USAO-SDF investigation or predicted an indictment and its collateral consequences,

  even if they were aware of the subpoenas. Once again, Plaintiff is asking the Court to make

  illogical leaps that are not permitted under the PSLRA. 26 Plaintiff’s claim that the CWs support a

  strong inference of scienter by “supplementing the description of the Due Diligence Tour in the

  Proxy” (Opp. at 29) is similarly nonsensical, given that any information disclosed in the proxy was

  necessarily public.

          As a last ditch effort, Plaintiff points to congressional testimony, lobbying efforts, and

  Harkness’s retirement—none of which demonstrates scienter. Opp. at 26-28. Publicly addressing

  the Cumberland Facility does not demonstrate that Defendants were previously aware of, and



  26
    Tellingly, Plaintiff cites just one distinguishable case for the proposition that receipt of a DOJ subpoena
  can be “‘one more piece of the puzzle.’” Opp. at 34 (citing Washtenaw Cnty. Emps. Ret. Sys. v. Avid Tech.,
  Inc., 28 F. Supp. 3d 93, 114-15 (D. Mass. 2014) (subpoena and related investigation concerned the
  defendant and plaintiff alleged other evidence of scienter). The other cases Plaintiff cites involved more
  than mere receipt of a subpoena and, critically, the investigations were of the defendant. Opp. at 34 n.34.


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  sought to conceal, anything. See Higginbotham, 495 F.3d at 760 (hiring an accounting firm to

  strengthen financial controls did not show that previous controls were recognized as deficient).

  Indeed, publicly addressing something is wholly inconsistent with any intent to conceal it. 27

  Plaintiff next asserts that the retirement of Jim Harkness raises a strong inference of scienter. Opp.

  at 27-28. Unsurprisingly, Plaintiff cites no case holding that a retirement, on its own, can raise an

  inference of scienter and, as noted, Plaintiff does not allege additional evidence. Id. Further, while

  Plaintiff characterizes the retirement as abrupt and sudden (without support), Plaintiff ignores that

  Harkness remained employed by the Company for an entire quarter after his retirement was

  announced, until September 30, 2022. 28

            B.     Plaintiff’s Core Operations Allegations Still Fail.

            Contrary to Plaintiff’s assertion, Defendants strongly dispute that statements regarding

  NHPs concern “core operations” for purposes of scienter. Opp. at 30. However, the FAC did not

  allege that the NHP business constituted a core operation, let alone that the subpoenas were

  somehow critical to that business. See ¶¶ 244-45. Plaintiff’s assertion that the entire RMS segment

  and the production and importation of research animals constituted a core operation (¶ 244; Opp.

  at 30-31) is not sufficient. See Mem. at 32-33. Further, Plaintiff cannot demonstrate that subpoenas

  constitute information that is so “critical” to a core operation or that it is “almost inconceivable”

  that the Individual Defendants would be unaware of them. See Opp. at 31 (quoting Jones and

  Desai).



  27
    Constr. Workers Pension Fund-Lake Cnty. & Vicinity v. Navistar Int’l Corp., 114 F. Supp. 3d 633, 661
  (N.D. Ill. 2015) (Opp. at 22) is completely distinguishable. There, the plaintiff alleged that the defendant’s
  CEO made statements in a meeting that demonstrated that he did not actually believe in the efficacy of the
  company’s product, despite publicly stating that he did.
  28
    Inotiv, Inc. Schedule 14A filed Jan. 30, 2023, available at
  https://www.sec.gov/Archives/edgar/data/720154/000110465923007554/tm234576d2_def14a.ht.


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          Plaintiff fails to address Defendants core operations allegations with respect to the

  Cumberland Facility. Mem. at 32-33. Rather, Plaintiff inexplicably continues to argue that the

  Cumberland Facility was a core operation by relying on revenue associated with the entire RMS

  segment and information on the industry as a whole—neither of which are sufficient. Opp. at 32.

  In short, Plaintiff fails to allege a single fact demonstrating that the Cumberland Facility was

  critical to Inotiv’s core operations. To the contrary, the small size of the Cumberland Facility only

  undercuts any suggestion that Defendants had reason to conceal information relating to the facility.

  See Zimmer, 673 F. Supp. 2d at 748-49. 29

          C.      Multiple Facts Weigh Against Any Inference of Scienter.

          Not only has Plaintiff failed to allege a “powerful or cogent” inference of scienter, but

  when viewing all relevant facts holistically, it is clear that Plaintiff has not met the “demanding”

  requirements under the PSLRA. Tellabs, Inc. v. Makor Issues & Rts., Ltd, 551 U.S. 308, 323-24

  (2007). For example, three of the four the Individual Defendants purchased stock during the class

  period and none sold a single share. Plaintiff asserts that the purchases were relatively small

  compared to Defendants’ other holdings. Opp. at 33. However, these purchases are significant, as

  the FAC does not otherwise allege any inference of scienter. See Conagra, 495 F. Supp. 3d at 666-

  67. 30 Additionally, Inotiv made timely disclosures that warned investors of the relevant risks; sent


  29
     Plaintiff’s attempt to distinguish Zimmer, Caterpillar, and Stavros fails. Opp. at 31 n.31 (citing Zimmer,
  673 F. Supp. 2d at 725 (products accounting for 6% of defendant’s business did not constitute core
  operations); Stavros, 266 F. Supp. 2d at 851 (inflation of revenue by 3% did not raise a strong inference of
  scienter)); Caterpillar, Inc., 2018 WL 4616356, at *8 (“senior positions” alone “do not suggest scienter”)).
  See also Greebel v. FTP Software, Inc., 194 F.3d 185, 206 (1st Cir. 1999) (4% did not support a strong
  inference of scienter); In re Allscripts, Inc. Secs. Litig., No. 00 C 6796, 2001 WL 743411, at *10–11 (N.D.
  Ill. June 29, 2001) (4% adjustment did not support scienter).
  30
     Pierrelouis (Opp. at 33) is not applicable here because the plaintiff alleged facts suggesting a strong
  inference of fraudulent intent irrespective of any stock purchases. 2021 WL 1608342 at *7 (scienter alleged
  where defendants made private statements showing awareness of allegedly concealed problem, the product
  at issue was central to the company’s success, the problem was widespread, the timing of product rollout
  was critical, and any disruption to rollout plans endangered the company’s overall financial position).


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  internal communications to employees about issues at the Cumberland Facility, which Plaintiff

  does not dispute directly cuts against an intent to conceal; and had no reason to conceal the issues

  at Cumberland given its small size and unprofitability. Mem. at 32-33. These facts, combined with

  the lack of a single damning internal report, suspicious stock sale by an insider, or first-hand

  knowledge of any alleged fraud, make clear that the FAC must be dismissed for failure to

  adequately allege scienter.

  IV.     PLAINTIFF HAS NOT ALLEGED LOSS CAUSATION.

          Plaintiff’s allegations invariably fail to satisfy one or both of the requirements to allege

  loss causation: (1) a corrective disclosure that relates back to or corrects a previous fraudulent

  statement; and (2) a drop in the price of the stock following the corrective disclosure. 31 Ray v.

  Citigroup Glob. Mkts., Inc., 482 F.3d 991, 995 (7th Cir. 2007). First, the announcements on

  November 15, 2021, and June 13, 2022, cannot constitute corrective disclosures because Inotiv’s

  stock price quickly rebounded after an initial loss. Mem. at 34, 36-37. Plaintiff characterizes this

  as a “premature factual dispute” (Opp. at 36, 38-39), but various courts have dismissed claims

  where the stock price rebounded. Mem. at 34-35; see also Wade v. WellPoint, Inc., 892 F. Supp.

  2d 1102, 1136 (S.D. Ind. 2012) (plaintiff failed to connect revelation of the alleged fraud to any

  meaningful dip in stock price where the stock rebounded two days later). 32 Second, Plaintiff does




  31
    The fact that Inotiv’s stock price did not fall in the aftermath of certain alleged corrective disclosures is
  not an inappropriate factual dispute. See Opp. at 36. Such stock prices are a matter of public record, which
  the Court can take judicial notice of and consider in ruling on Defendants’ Motion. See Mem. at 3 n.2.
  32
    Additionally, Inotiv’s stock fell less than 2%, or 25 cents, as a result of the June 13, 2022 announcement.
  Plaintiff asserts that Klein v. Altria Grp., Inc., 525 F. Supp. 3d 638, 669 (E.D. Va. 2021) stands for the
  proposition that the size of a stock’s drop is not a consideration at the pleading stage. Opp. at 39. However,
  the court did not hold that the size of a stock drop cannot be considered on a motion to dismiss. Moreover,
  unlike here, the issuer’s “share price declined following each disclosure of new negative information.”
  Further, analysts reported that Inotiv’s June 13, 2022 decision to close the facility was “well-received by
  investors,” not viewed as a disclosure of fraud. ¶ 263.


                                                        18
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  not dispute that Inotiv’s December 21, 2021 Form 10-K disclosed the exact same risks as the

  February 16, 2022 Form 10-Q, and that the stock price rose following the initial disclosure. See

  Opp. at 37-38; Mem. at 35. Plaintiff argues that the disclosures were in different places in the

  relevant filings and that February 16, 2022 was the first concurrent disclosure of the criminal

  subpoena and the USDA investigation, but Plaintiff fails to explain how either could possibly make

  a material difference to a reasonable investor. Opp. at 38 n.41.33 Further, Plaintiff acknowledges

  that the USAO-SDF investigation was public as early as June 2021 and fails to explain how the

  subpoena revealed previously concealed fraud. 34 ¶¶ 112-14; Mem. at 35. Third, Plaintiff contends

  that the May 20-21, 2022 disclosure of DOJ actions “revealed the truth of Defendants’

  misrepresentations and omissions regarding the Cumberland Facility.” Opp. at 38. However,

  Plaintiff also asserts that the DOJ action reported conditions “that were consistent with, if not

  substantially identical to, the reports of USDA inspections carried out prior to and during the Class

  Period,” which were previously disclosed. ¶ 101; Mem. at 36. Finally, Plaintiff asserts, without

  support, that the November 17, 2022 disclosure revealed that Defendants previously concealed

  that the USAO-SDF investigation was focused on Inotiv’s supplier. Opp. at 39. However, the

  disclosure merely referenced the recently unsealed indictment and, as noted, Plaintiff does not

  allege a single fact tending to show that Defendants were previously aware that the investigation




  33
     Plaintiff incorrectly asserts that a $413 million line item for Contingencies associated with the
  Cumberland Facility and the subpoena to Envigo was included in the February 16, 2022 Form 10-Q. Opp.
  at 38 n.41. One glance at the relevant balance sheet shows that $413 million was the amount of total
  liabilities, and that no amount was recorded for contingencies. Inotiv, Inc. Form 10-Q, filed Feb. 16, 2022,
  https://d18rn0p25nwr6d.cloudfront.net/CIK-0000720154/cd0a431d-dcaa-46e1-82f6-f80a5eb7a9a7.pdf.
  34
    The fact that the market did not react negatively to the May 16, 2022 disclosure of the OBRC subpoena
  means that Plaintiff cannot allege loss causation with respect to failure to disclose the subpoena and further
  supports Defendants’ argument that receipt of a subpoena is not material information that should have been
  disclosed earlier. Mem. at 37; supra Section II.B.iii.


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  was focused on the supplier. Mem. at 37; supra Section I.B. In short, Plaintiff’s own allegations

  and publicly available information demonstrate that Plaintiff cannot allege loss causation.

  V.      PLAINTIFF’S SECTION 14(A) CLAIM ALSO FAILS.

          Plaintiff’s 14(a) claim must fail because it rests entirely on the same faulty and

  inadequately alleged misstatements and omissions discussed above. Supra Section II.B. As for loss

  causation, Plaintiff now abandons the FAC’s insufficient claim that shareholders approved the

  Envigo acquisition for more than its true value. ¶¶ 318-19; see Mem. at 38-39. The Opposition

  now asserts that the FAC has pled loss causation based on “the amount by which Inotiv’s stock

  price fell in response to revelations concerning Envigo’s operations.” Opp. at 40. This theory fails

  for the reasons set forth above (supra Section IV), as well as the fact that it lacks a sufficient nexus

  between the acquisition and the loss. See, e.g., In re NAHC, Inc. Sec. Litig., 2001 WL 1241007, at

  *22 (E.D. Pa. Oct. 17, 2001), aff’d, 306 F.3d 1314 (3d Cir. 2002) (proxy transaction must be the

  “‘direct cause of the pecuniary injury for which recovery is sought’”); Edward J. Goodman Life

  Income Tr. v. Jabil Cir., Inc., 594 F.3d 783, 797 (11th Cir. 2010) (affirming dismissal for failure

  “to allege a link between the proxy solicitation and the shareholders’ loss”).

  VI.     PLAINTIFF’S SECTION 20(A) CLAIM MUST ALSO FAIL.

          Finally, Plaintiff’s § 20(a) claims must also be dismissed because they are predicated on

  violations of § 10(b) and § 14(a) which Plaintiff has failed to adequately plead.

                                            CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court dismiss the FAC

  in its entirety, with prejudice.

  Dated: April 28, 2023                                          Respectfully submitted,

                                                                 /s/ Michael J. Diver
                                                                 Lead Counsel for Defendants



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                                 CERTIFICATE OF SERVICE

         I certify that on this 28th day of April, 2023, a true and correct copy of the foregoing

  document was served on all counsel of record through the Court’s CM/ECF system.


                                                     /s/ Michael J. Diver




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